      Case 4:23-cv-00662     Document 91       Filed on 01/02/25 in TXSD        Page 1 of 2
                                                                                   United States District Court
                                                                                     Southern District of Texas

                                                                                        ENTERED
                         UNITED STATES DISTRICT COURT                                 January 02, 2025
                                                                                     Nathan Ochsner, Clerk
                      FOR THE SOUTHERN DISTRICT OF TEXAS
                               HOUSTON DIVISION

 KERRY LEE THOMAS,

                               Plaintiff,

 v.                                                            Case No. 4:23-cv-00662

 ERIC M. BRUSS,
 WAYNE SCHULTZ,
 and KEITH MORRIS, in his capacity as
 Temporary Dependent Administrator of the
 Estate of Robert Johnson,

                               Defendants.



   SEVENTH AMENDED SCHEDULING AND DOCKET CONTROL ORDER AND
       ORDER COMPELLING THE DEPOSITION OF JAMES C. MONCRIEF
______________________________________________________________________________

Having heard from Counsel for the Parties and for the deponent, James C. Moncrief, the Court
HEREBY ORDERS Mr. Moncrief to appear for a deposition via Zoom on January 23, 2025 at
9:00 a.m. Central Time. IT IS FURTHER ORDERED that all pretrial deadlines shall be extended
by 60 days, as follows:

1. February 14, 2025 EXPERTS ON MATTERS OTHER THAN ATTORNEY’S FEES
                     The plaintiff (or the party with the burden of proof on an issue) will
                     designate expert witnesses in writing and provide the report required by
                     Rule 26(a)(2) of the Federal Rules of Civil Procedure.
   March 21, 2025    The opposing party will designate expert witnesses in writing and
                     provide the report required by Rule 26(a)(2) of the Federal Rules of Civil
                     Procedure.
2. March 25, 2025    MEDIATION
                     Mediation or other form of dispute resolution must be completed by this
                     deadline.
3. March 25, 2025    COMPLETION OF DISCOVERY
                     Written discovery requests are not timely if they are filed so close to this
                     deadline that under the Federal Rules of Civil Procedure the response
                     would not be due until after the deadline.
4. April 4, 2025     PRETRIAL DISPOSITIVE MOTIONS DEADLINE



                                               1
   Case 4:23-cv-00662        Document 91        Filed on 01/02/25 in TXSD         Page 2 of 2




                         No motion may be filed after this date except for good cause.

5. June 6, 2025          JOINT PRETRIAL ORDER AND MOTION IN
                         LIMINE DEADLINE
                         The Joint Pretrial Order will contain the pretrial disclosures required by
                         Rule 26(a)(3) of the Federal Rules of Civil Procedure. Plaintiff is
                         responsible for timely filing the complete Joint Pretrial Order. Failure to
                         file a Joint Pretrial Order timely may lead to dismissal or other sanction
                         in accordance with the applicable rules.
6. June 13, 2025         DOCKET CALL
                         Docket Call will be held at 2:00 p.m. in Courtroom 11-B, United States
                         Courthouse, 515 Rusk, Houston, Texas. No documents filed within 7
                         days of the Docket Call will be considered. Pending motions may be
                         ruled on at docket call, and the case will be set for trial as close to the
                         docket call as practicable.


Any party wishing to make any discovery motions should arrange for a pre-motion conference
with the court before the preparation and submission of any motion papers. That includes a motion
to compel, to quash, or for protection. Email Glenda Hassan at Glenda_Hassan@txs.uscourts.gov
or fax her at 713-250-5213 to arrange for a pre-motion conference. Notify your adversary of the
date and time for the conference.


SIGNED on 01/02/2025
          _________, at Houston, Texas.
                                                    _____________________________________
                                                                Lee H. Rosenthal
                                                            United States District Judge




                                                2
